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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LEAGUE OF WOMEN VOTERS OF                                       CIVIL ACTION
 PENNSYLVANIA, et al.
                                                                 NO. 17-5137
           v.

 THE COMMONWEALTH OF
 PENNSYLVANIA, et al.


                                                          ORDER

         AND NOW this 21st day of May, 2018, Plaintiff League of Women Voters’ motion for

leave to file a correspondence (ECF 25) is denied as moot.

                                                           BY THE COURT:




                                                           MICHAEL M. BAYLSON
                                                           United States District Court Judge

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